                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 1 of 23 Page ID #:92



                                                                              Jeffrey B. Maltzman, CA Bar No. 131758
                                                                          1 Edgar R. Nield, CA Bar No. 135018
                                                                              Gabrielle De Santis Nield, CA Bar No. 110930
                                                                          2 Rafaela P. Castells, CA Bar No. 290828
                                                                              MALTZMAN & PARTNERS, P.A.
                                                                          3 681 Encinitas Boulevard, Suite 315
                                                                              Encinitas, CA 92024
                                                                          4 Telephone: (760) 942-9880
                                                                              Facsimile: (760) 942-9882
                                                                          5 jeffreym@maltzmanpartners.com
                                                                              edn@maltzmanpartners.com
                                                                          6 gabn@maltzmanpartners.com

                                                                          7 Attorneys for Defendant, PRINCESS CRUISE LINES, LTD.

                                                                          8

                                                                          9                         UNITED STATES DISTRICT COURT
                                                                         10                      CENTRAL DISTRICT OF CALIFORNIA
MALTZMAN & PARTNERS




                                                                         11 STANLEY DACHINGER and LINDA
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                                                                     CASE NO.: 2:20-CV-03847-RGK-SK
                                                                         12 DACHINGER and JACKIE BROCK
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                            and JANIS BROCK,                         DEFENDANT PRINCESS CRUISE
                                                                                                                     LINE LTD.’S MOTION TO DISMISS
                                   ENCINITAS, CA 92024




                                                                         13
                                                                                          Plaintiff,
                                                                         14 vs.

                                                                         15 PRINCESS CRUISE LINES, LTD.,             Date: July 27, 2020
                                                                                                                     Time: 9:00 a.m.
                                                                         16                                          Judge: Hon. R. Gary Klausner
                                                                                          Defendants.                Courtroom: 850
                                                                         17

                                                                         18                                          Magistrate: Hon. Steve Kim
                                                                                                                     Filed: 04/28/2020
                                                                         19

                                                                         20

                                                                         21

                                                                         22

                                                                         23

                                                                         24

                                                                         25

                                                                         26
                                                                         27

                                                                         28

                                                                              DEFENDANT’S MOTION TO DISMISS                              2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 2 of 23 Page ID #:93




                                                                          1                             TABLE OF CONTENTS
                                                                              I.     INTRODUCTION ............................................................................................. 1
                                                                          2
                                                                              II.    LEGAL STANDARD ....................................................................................... 6
                                                                          3
                                                                              III.   MEMORANDUM OF LAW ............................................................................ 6
                                                                          4
                                                                                     A.      Federal Maritime Law Applies to Plaintiffs’ Claims.............................. 6
                                                                          5
                                                                                     B.      Plaintiffs Cannot Recover for Emotional Distress .................................. 7
                                                                          6
                                                                                             1.       Plaintiff Janis Brock’s Allegations Do Not Satisfy the Zone
                                                                          7                           of Danger Test ............................................................................ 7
                                                                          8                  2.       To Recover for Emotional Distress Plaintiffs Stanley
                                                                                                      Dachinger,   Linda Dachinger, and Jackie Brock Must
                                                                          9                           Allege Symptoms........................................................................ 11
                                                                         10                  3.       To Recover for Emotional Distress All Plaintiffs Must
                                                                                                      Plausibly Allege a Physical Manifestation of the Claimed
MALTZMAN & PARTNERS




                                                                         11                           Distress........................................................................................ 12
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         12          C.      Plaintiffs Cannot Recover for Fear or Even a Mere Diagnosis,
                                                                                             Without More, as a “Physical Harm” ................................................... 14
                                   ENCINITAS, CA 92024




                                                                         13
                                                                                     D.      Plaintiffs Have Not Plausibly Alleged Causation ................................. 15
                                                                         14
                                                                                     E.      Finding Plaintiffs’ Claims Sufficient Would Invite the Exact
                                                                         15                  Policy Consequences the Supreme Court Cautioned Against .............. 15
                                                                         16          F.      Plaintiffs’ Claims for Punitive Damages Are Foreclosed as a
                                                                                             Matter of Law and Should be Dismissed or Stricken ........................... 16
                                                                         17
                                                                              V.     CONCLUSION ............................................................................................... 19
                                                                         18
                                                                         19

                                                                         20

                                                                         21

                                                                         22

                                                                         23

                                                                         24

                                                                         25

                                                                         26
                                                                         27

                                                                         28
                                                                                                                                        i
                                                                              DEFENDANT’S MOTION TO DISMISS                                                               2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 3 of 23 Page ID #:94




                                                                          1
                                                                                                                       TABLE OF AUTHORITIES
                                                                                                                               Cases
                                                                          2
                                                                              Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir. 1992) ............................. 13
                                                                          3
                                                                              Ashcroft v. Iqbal, 556 U.S. 662 (2009).................................................................. 6, 10
                                                                          4
                                                                              Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)........................................................ 6
                                                                          5
                                                                              Bonner v. Union Pac., 123 F. App’x 777 (9th Cir. 2005) ........................................... 9
                                                                          6
                                                                              Chaparro v. Carnival Corp., 693 F.3d 1333 (11th Cir. 2012) .................................... 8
                                                                          7
                                                                              Consolidated Rail Corp. v. Gottshall, 512 U.S. 532 (1994) ....................... 3, 8, 10, 11
                                                                          8
                                                                              Crawford v. Nat'l R.R. Passenger Corp., 2015 WL 8023680 (D. Conn. Dec. 4, 2015)
                                                                          9        ........................................................................................................................... 9
                                                                         10 CSX Transp., Inc. v. Hensley, 556 U.S. 838 (2009) .................................................... 9
MALTZMAN & PARTNERS




                                                                         11 Duet v. Crosby Tugs, LLC, 2008 WL 5273688 (E.D. La. Dec. 16, 2008) ................ 12
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                         12 Dunn v. Hatch, 792 F. App’x 449 (9th Cir. 2019) .................................................... 17
                           681 ENCINITAS BOULEVARD, SUITE 315
                                   ENCINITAS, CA 92024




                                                                         13 Ellenwood v. Exxon Shipping, 795 F. Supp. 31 (D. Me. 1992)................................. 13

                                                                         14 Exxon Shipping Co. v. Baker, 554 U.S. 471 (2008) .................................................. 18

                                                                         15 Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749 (M.D.N.C. 2014) ......................... 9, 11

                                                                         16 Goodrich v. Long Island Rail Rd. Co., 654 F.3d 190 (2d Cir. 2011) .......................... 9

                                                                         17 Hutton v. Norwegian Cruise Line Ltd., 144 F.Supp.2d 1325 (S.D. Fla. 2001) ......... 11

                                                                         18 Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527 (1995) .. 7
                                                                         19 Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474 (5th Cir. 2001) ........................... 12

                                                                         20 Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424 (1997) . 3, 7, 8, 9, 10, 11, 12

                                                                         21 Miles v. Apex Marine Corp., 498 U.S. 19 (1986) ................................................ 17, 18

                                                                         22 Naeyaert v. Kimberly-Clark Corp., 2018 WL 6380749 (C.D. Cal. Sept. 28, 2018) . 10

                                                                         23 Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358 (S.D. Fla. 2018)............. 3, 8

                                                                         24 Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135 (2003) .................... 3, 7, 8, 9, 10, 16, 18

                                                                         25 Sawyer Bros., Inc. v. Island Transporter, LLC, 887 F.3d 23 (1st Cir. 2018)............ 11

                                                                         26 Smith v. A.C. & S., Inc., 843 F.2d 854 (5th Cir.1988) ................................................. 9
                                                                         27 Smith v. Carnival Corp., 584 F. Supp. 2d 1343 (S.D. Fla. 2008) ............................... 9

                                                                         28
                                                                                                                                              ii
                                                                              DEFENDANT’S MOTION TO DISMISS                                                                     2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 4 of 23 Page ID #:95



                                                                               Smith v. Union Pac. R.R. Co., 236 F.3d 1168 (10th Cir.2000) ................................. 11
                                                                          1
                                                                               Stacy v. Rederiet Otto Danielsen, A.S., 609 F.3d 1033 (9th Cir. 2010) ...................... 8
                                                                          2
                                                                               Taghadomi v. United States, 401 F.3d 1080 (9th Cir. 2005) ...................................... 7
                                                                          3
                                                                               Tassinari v. Key W. Water Tours, L.C., 480 F. Supp. 2d 1318 (S.D. Fla. 2007) ...... 12
                                                                          4
                                                                               The Dutra Grp. v. Batterton, 139 S. Ct. 2275 (2019).............................. 16, 17, 18, 19
                                                                          5
                                                                               Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560 (11th Cir. 1991) ................ 7
                                                                          6
                                                                               Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403 (S.D. Fla. 1995) ...... 12, 13
                                                                          7
                                                                               Williams v. United States, 711 F.2d 893 (9th Cir.1983) ............................................. 7
                                                                          8
                                                                               Wyler v. Holland Am. Line-USA, Inc., 2002 WL 32098495 (W.D. Wash. Nov. 8,
                                                                          9         2002) ................................................................................................................ 12
                                                                         10                                                              Statutes
MALTZMAN & PARTNERS




                                                                         11 46 U.S.C. §30303....................................................................................................... 18
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         12                                                               Rules
                                   ENCINITAS, CA 92024




                                                                         13 Fed. Rule Civ Pro 12(b)(6) .................................................................................... 6, 17

                                                                         14 Fed. Rule Civ Pro 12(f) ............................................................................................. 17

                                                                         15 L.R. 7-3 ........................................................................................................................ 1

                                                                         16

                                                                         17

                                                                         18
                                                                         19

                                                                         20

                                                                         21

                                                                         22

                                                                         23

                                                                         24

                                                                         25

                                                                         26
                                                                         27

                                                                         28
                                                                                                                                             iii
                                                                               DEFENDANT’S MOTION TO DISMISS                                                                    2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 5 of 23 Page ID #:96




                                                                          1         Defendant, PRINCESS CRUISE LINES, LTD. (hereafter “Defendant” or
                                                                          2 “PRINCESS”), hereby files this Motion to Dismiss the Complaint filed by Plaintiffs

                                                                          3 herein. In the interests of judicial economy, the court is hereby advised that this

                                                                          4 motion is identical to the Motion to Dismiss filed in the matter of Francis Shay, et al.

                                                                          5 v. Princess Cruise Lines, Ltd., Case No. 2:20-cv-04064, in that both are premised on

                                                                          6 nearly identical Complaints, involve Plaintiffs who were aboard the same cruise, and

                                                                          7 involve a combination of Plaintiffs who never contracted COVID-19 (Janis Brock)

                                                                          8 and those who at some undisclosed time after their cruise tested positive for COVID-

                                                                          9 19 (Stanley Dachinger, Linda Dachinger, Jackie Brock). None of the Plaintiffs allege

                                                                         10 having any symptoms of the virus, any substantial physical manifestation to their
MALTZMAN & PARTNERS




                                                                         11 emotional distress, nor any facts connecting Defendant’s alleged conduct with their
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         12 positive COVID-19 diagnosis. Other than a conclusory allegation that Plaintiffs
                                   ENCINITAS, CA 92024




                                                                         13 Stanley Dachinger, Linda Dachinger, Jackie Brock “suffer from physical … harm

                                                                         14 from the disease,” (Compl. ¶¶ 25, 29), Plaintiffs allege only “emotional distress.” For

                                                                         15 the reasons set forth below, Plaintiffs’ Complaint should be dismissed.

                                                                         16         This motion is made following several conferences of counsel pursuant to L.R.
                                                                         17 7-3 which took place between May 7, 2020 and June 1, 2020.

                                                                         18 I.      INTRODUCTION
                                                                         19         This is a tort case brought by Plaintiffs who make only a conclusory allegation
                                                                         20 of “physical … harm” (Compl. ¶¶ 25, 29), and whose allegations of emotional harm

                                                                         21 are squarely foreclosed by established precedent. The Court should dismiss this case

                                                                         22 for failure to state a claim.

                                                                         23         Plaintiffs allege that they were among the thousands of passengers on the
                                                                         24 Grand Princess cruise ship who embarked on February 21, 2020. (Compl. ¶¶ 13, 14.)

                                                                         25 Like the vast majority of those passengers, Plaintiffs do not allege that they suffered

                                                                         26 any physical symptoms of COVID-19. Plaintiffs claim, without explanation, that
                                                                         27 merely by virtue of being on the same cruise ship with some individuals that were on

                                                                         28 the prior cruise, they were at “actual risk of immediate physical injury.” (Compl. ¶ 19.)
                                                                                                                        1
                                                                              DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 6 of 23 Page ID #:97




                                                                          1 Plaintiffs’ Complaint is nearly identical to numerous complaints filed by the same

                                                                          2 Plaintiffs’ attorneys representing other passengers aboard this same cruise seeking

                                                                          3 emotional distress damages based only on a fear of contracting COVID-19. The sole

                                                                          4 difference between this Complaint and the form complaint Plaintiffs’ counsel filed in

                                                                          5 their pure “Fear of COVID-19” cases is the addition of a single passing mention that

                                                                          6 three of the Plaintiffs contracted COVID-19 at some unspecified time. But courts have

                                                                          7 held that a bare diagnosis, without any actual symptoms causing functional

                                                                          8 impairment, is not a cognizable physical harm sufficient to support a disease claim

                                                                          9 such as is alleged here. Nor does a mere diagnosis support a claim for emotional

                                                                         10 distress; courts hold that plaintiffs must allege objectively serious physical
MALTZMAN & PARTNERS




                                                                         11 manifestations of their claimed emotional distress.
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         12         Plaintiff Janis Brock asks this Court to recognize an unprecedented theory of
                                   ENCINITAS, CA 92024




                                                                         13 liability for emotional distress, unmoored from any physical harm, that is squarely

                                                                         14 foreclosed by Supreme Court precedent. Janis Brock seeks damages for emotional

                                                                         15 distress from fear of contracting COVID-19 based solely on being aboard the same

                                                                         16 cruise ship along with approximately 3,700 other passengers and crew, some of whom

                                                                         17 could have interacted with individuals from the preceding cruise who were later

                                                                         18 diagnosed with COVID-19 after their cruise ended. (Compl. ¶ 18.) If accepted,
                                                                         19 Plaintiff’s theory would open the door to open-ended liability for every business,

                                                                         20 school, church, and municipality across America, stalling economic recovery in the

                                                                         21 wake of the COVID-19 pandemic and complicating the ability of businesses to

                                                                         22 reopen. Plaintiff Janis Brock is among over 125 individuals who have filed nearly

                                                                         23 identical lawsuits against Defendant, each seeking one million dollars in

                                                                         24 compensatory damages for emotional distress plus punitive damages based only on

                                                                         25 their fear that they could have contracted COVID-19. Significantly, Janis Brock does

                                                                         26 not claim to have contracted COVID-19, to have suffered any symptoms of COVID-
                                                                         27 19, or even that to have ever came into direct contact with the virus. The Supreme

                                                                         28 Court has squarely held that a plaintiff cannot recover for emotional distress stemming
                                                                                                                       2
                                                                              DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 7 of 23 Page ID #:98




                                                                          1 from potential exposure to a disease “unless, and until, he manifests symptoms of a

                                                                          2 disease.” Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424, 427 (1997). This

                                                                          3 rule applies to claims of emotional distress brought under federal maritime law.

                                                                          4 Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358 (S.D. Fla. 2018). Supreme

                                                                          5 Court precedent thus requires dismissal here, because Plaintiff Janis Brock does not

                                                                          6 claim to have either contracted COVID-19 or had sufficient symptoms of disease to

                                                                          7 establish to have contracted the virus as a result of Defendant’s conduct. The Supreme

                                                                          8 Court has consistently reaffirmed this rule precisely to avoid the oppressive societal

                                                                          9 costs that would occur if claims like Plaintiffs’ could go forward. As the Court has

                                                                         10 explained, “contacts, even extensive contacts,” with potential carriers of diseases “are
MALTZMAN & PARTNERS




                                                                         11 common.” Metro-North, 521 U.S. at 434. And unlike with physical injury, “there are
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         12 no necessary finite limits on the number of persons who might suffer emotional
                                   ENCINITAS, CA 92024




                                                                         13 injury” as a result of fear of contracting an illness. Consolidated Rail Corp. v.

                                                                         14 Gottshall, 512 U.S. 532, 546 (1994). If anyone potentially exposed to a contagion

                                                                         15 could obtain damages for emotional distress, “[t]he large number of those exposed

                                                                         16 and the uncertainties that may surround recovery” would prompt a “flood” of lawsuits,

                                                                         17 Metro-North, 521 U.S. at 434, and would lead to “the very real possibility of nearly

                                                                         18 infinite and unpredictable liability for defendants.” Norfolk & W. Ry. Co. v. Ayers,
                                                                         19 538 U.S. 135, 146 (2003).

                                                                         20         Similarly, allowing for liability based purely on a diagnosis of COVID-19 (as
                                                                         21 Plaintiffs Stanley Dachinger, Linda Dachinger, and Jackie Brock allege) without any

                                                                         22 allegation they ever suffered any symptoms of the virus and without casually

                                                                         23 connecting Plaintiffs’ diagnosis to PRINCESS’ conduct would permit virtually all of

                                                                         24 the same harmful consequences. (See Consolidated Motion to Dismiss, D.E. 31, filed

                                                                         25 in Case No. 2:20-CV-02267-RGK-SK). This is particularly important here when

                                                                         26 dealing with a virus which causes no symptoms whatsoever in a large percentage of
                                                                         27 the people who ultimately test positive for the virus. Even if Plaintiffs could recover

                                                                         28 for their diagnosis or their fear in theory, their Complaint does not plausibly allege
                                                                                                                        3
                                                                              DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
                                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 8 of 23 Page ID #:99




                                                                          1 facts to establish causation. In fact, Plaintiffs never even allege they contracted the

                                                                          2 disease on the vessel or as a result of PRINCESS’s conduct.

                                                                          3         A “flood” of COVID-19 lawsuits has already begun including over 30 lawsuits
                                                                          4 just from this one cruise ship, with similar cases filed relating to passengers on other

                                                                          5 cruises and other vessels. And there is no reason to think the flood will abate. As of

                                                                          6 the date of filing this brief, approximately 2 million cases of COVID-19 have been

                                                                          7 confirmed in the United States and approximately 7 million cases worldwide.1 Given

                                                                          8 the millions of confirmed cases of COVID-19, it is inevitable that thousands of

                                                                          9 schools, nursing homes, shopping centers, stadiums, parks, and businesses across

                                                                         10 America have had cases on their premises. Plaintiffs’ claims threaten the ability of
MALTZMAN & PARTNERS




                                                                         11 businesses to reopen and for the economy to resume.
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         12         A positive COVID-19 test result, without more, cannot be carte blanche to sue
                                   ENCINITAS, CA 92024




                                                                         13 any business that had an infected individual patronize that business at some point in

                                                                         14 time in the past. To allow Plaintiffs Stanley Dachinger, Linda Dachinger, and Jackie

                                                                         15 Brock to bring such a claim without alleging they suffered any real harm and without

                                                                         16 any evidence establishing causation between their diagnosis and Defendant’s alleged

                                                                         17 conduct would forestall the economy’s reopening. This is especially troublesome

                                                                         18 considering the extent of asymptomatic cases where an individual tests positive for
                                                                         19 COVID-19 yet never exhibits symptoms. By allowing this case to go forward as pled,

                                                                         20 anyone with a positive COVID-19 test could pick the deepest pocket business they

                                                                         21 visited and claim they are entitled to millions of dollars in damages simply because

                                                                         22 another individual who later tested positive had been in the same area previously.

                                                                         23 Businesses cannot open if they are to be held liable to everyone who visited their

                                                                         24 business and later tests positive for COVID-19.

                                                                         25         And if Plaintiff Janis Brock’s theory of liability succeeds, then all of the
                                                                         26 millions of individuals who passed through those venues can similarly claim to have
                                                                         27   1
                                                                             See Coronavirus Disease 2019 (COVID-19), Cases in the U.S., Centers for Disease Control and
                                                                         28 Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.
                                                                                                                          4
                                                                              DEFENDANT’S MOTION TO DISMISS                                       2:20-CV-03847-RGK-SK
                                                             Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 9 of 23 Page ID #:100




                                                                       1 suffered emotional distress even if they never contracted the illness. Straightforward

                                                                       2 application of the Supreme Court’s rules governing these types of disease claims will

                                                                       3 prevent the cataclysmic result of allowing open-ended liability. The likelihood of

                                                                       4 endless liability for every business, church, school and other venue in America under

                                                                       5 Plaintiff’s expansive theory is even more likely in the context of COVID-19, which

                                                                       6 is now known to be transmitted by asymptomatic individuals which no defendant

                                                                       7 could realistically detect with current testing limitations. The Supreme Court’s limits

                                                                       8 on such claims are intended to avoid exactly that result, and a straightforward

                                                                       9 application of those limits mandates dismissal.

                                                                      10         Plaintiffs are seeking over $1 million each for emotional distress because they
MALTZMAN & PARTNERS




                                                                      11 feared they might contract COVID-19 (Janis Brock) or because they later tested
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 positive for the virus (Stanley Dachinger, Linda Dachinger, and Jackie Brock). Courts
                                   ENCINITAS, CA 92024




                                                                      13 require that a plaintiff experience symptoms of their contracted illness and serious

                                                                      14 physical consequences from their emotional distress before allowing recovery for the

                                                                      15 damages alleged herein. None of the Plaintiffs here allege either.

                                                                      16         For Plaintiff Janis Brock, there is also a second, independent barrier to
                                                                      17 Plaintiff’s claims because in addition to requiring that a plaintiff contract the disease,

                                                                      18 courts further require that the plaintiff’s fear must give rise to serious physical
                                                                      19 consequences before emotional distress damages can be recovered. Mere anxiety or

                                                                      20 fear about their health is legally insufficient to support a claim for emotional distress

                                                                      21 in a fear of illness case. Janis Brock does not claim she ever contracted COVID-19,

                                                                      22 nor does she allege serious physical consequences stemming from her alleged

                                                                      23 emotional distress.

                                                                      24         Finally, Plaintiffs’ request for punitive damages is flatly insufficient under the
                                                                      25 strict standards governing punitive damages in maritime claims.

                                                                      26         While evidence will ultimately show that Plaintiffs’ factual allegations against
                                                                      27 PRINCESS are inaccurate and misleading, even accepting the allegations as true for

                                                                      28 the purposes of this Motion, the Complaint makes clear that Plaintiffs’ claims fail to
                                                                                                                      5
                                                                           DEFENDANT’S MOTION TO DISMISS                                     2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 10 of 23 Page ID #:101




                                                                       1 allege sufficient facts to state a claim and must be dismissed.

                                                                       2 II.     LEGAL STANDARD
                                                                       3         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
                                                                       4 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

                                                                       5 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                       6 above the speculative level, … on the assumption that all the allegations in the

                                                                       7 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                       8 plausibility standard “asks for more than a sheer possibility that a defendant has acted

                                                                       9 unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that offers

                                                                      10 labels and conclusions or a formulaic recitation of the elements of a cause of action
MALTZMAN & PARTNERS




                                                                      11 will not do.” Id.
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 III.    MEMORANDUM OF LAW
                                   ENCINITAS, CA 92024




                                                                      13         Recognizing the potential for widespread liability in disease exposure cases,
                                                                      14 courts apply strict limits on such cases. The limits include the requirement that a

                                                                      15 plaintiff must suffer symptoms of the illness and must plausibly allege serious

                                                                      16 physical manifestations of their purported emotional distress. Metro-North, supra;

                                                                      17 Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir. 1992); Williams v. Carnival

                                                                      18 Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995). Plaintiffs have not
                                                                      19 plausibly alleged either and thus their case must be dismissed under Rule 12(b)(6).

                                                                      20 Even if Plaintiffs’ claims survive, their Complaint should be dismissed based on its

                                                                      21 failure to allege any facts showing Plaintiffs ever came into actual contract with the

                                                                      22 virus and on its failure to allege any facts establishing causation. The request for

                                                                      23 punitive damages should be dismissed or stricken.

                                                                      24       A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                      25         As Plaintiffs acknowledge by invoking this Court’s maritime jurisdiction,
                                                                      26 Federal maritime law applies to Plaintiffs’ claims.2 (Compl. ¶ 3) Maritime law applies
                                                                      27   2
                                                                            Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime law. See,
                                                                      28 https://www.princess.com/legal/passage_contract/plc.html at Section 1.
                                                                                                                        6
                                                                           DEFENDANT’S MOTION TO DISMISS                                         2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 11 of 23 Page ID #:102




                                                                       1 when “(1) the alleged wrong occurred on or over navigable waters, and (2) the wrong

                                                                       2 bears a significant relationship to traditional maritime activity.” Williams v. United

                                                                       3 States, 711 F.2d 893, 896 (9th Cir.1983). “‘[V]irtually every activity involving a

                                                                       4 vessel on navigable waters” is a “traditional maritime activity sufficient to invoke

                                                                       5 maritime jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080, 1087 (9th Cir.

                                                                       6 2005) ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S.

                                                                       7 527, 542 (1995))); Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1654 n.

                                                                       8 10 (11th Cir. 1991) (when injury occurs aboard a ship upon navigable waters, federal

                                                                       9 maritime law governs the substantive legal issues).

                                                                      10
                                                                              B. Plaintiffs Cannot Recover for Emotional Distress
MALTZMAN & PARTNERS




                                                                      11            1. Plaintiff Janis Brock’s Allegations Do Not Satisfy the Zone of
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                                       Danger Test
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12
                                                                                 The Supreme Court has “sharply circumscribed” recovery under federal law for
                                   ENCINITAS, CA 92024




                                                                      13

                                                                      14 claims of emotional harm that are not “brought on by a physical injury or disease”—

                                                                      15 by requiring that the plaintiff be within the “zone of danger” of defendant’s allegedly

                                                                      16 negligent conduct. Ayers, 538 U.S. at 147 (2003). The Supreme Court in Metro-North

                                                                      17 set forth a narrow zone of danger test in cases involving exposure to a disease stating

                                                                      18 categorically that a plaintiff alleging emotional distress from such exposure “cannot
                                                                      19 recover unless, and until, he manifests symptoms of a disease.” 521 U.S. at 426-27.

                                                                      20 The Supreme Court has since reaffirmed Metro-North’s categorical rule, explaining

                                                                      21 in Ayers that “emotional distress damages may not be recovered” by “disease-free”

                                                                      22 plaintiffs. 538 U.S. at 141. The Court specifically “decline[d] to blur, blend, or

                                                                      23 reconfigure” the “clear line” between “disease-free” plaintiffs, who cannot recover,

                                                                      24 and those “who suffer from a disease,” who can recover under certain conditions. Id.;

                                                                      25 see also id. at 146. The Court has also made clear that its rule applies not just to claims

                                                                      26 based on exposure to toxins like asbestos, but to any claim based on alleged exposure
                                                                      27 to a disease including “germ-laden air.” Metro-North, 521 U.S. at 437.

                                                                      28 / / /
                                                                                                                      7
                                                                           DEFENDANT’S MOTION TO DISMISS                                      2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 12 of 23 Page ID #:103




                                                                       1          Under the Supreme Court edict, mere exposure to a contagion—even a
                                                                       2 significant and substantial exposure—is insufficient to establish someone is within

                                                                       3 the required “zone of danger.” In Metro-North, the plaintiff’s employer had

                                                                       4 negligently exposed him to a “massive” and “tangible” amount of asbestos, placing

                                                                       5 him in direct, close contact with asbestos every day for a three-year period. Id. at 427.

                                                                       6 The plaintiff feared that this intense prolonged exposure increased his chances of

                                                                       7 dying from cancer and introduced expert testimony supporting that his risk of cancer

                                                                       8 had in fact increased. Id. The Supreme Court nonetheless held that the plaintiff could

                                                                       9 not recover since exposure to the disease-causing substance alone was insufficient to

                                                                      10 establish emotional distress liability. Id. at 430 (quoting Gottshall, 512 U.S. at 547-
MALTZMAN & PARTNERS




                                                                      11 48). The Court explained that if “a simple (though extensive) contact with a
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 carcinogenic substance” were sufficient to permit recovery, it would not “offer much
                           681 ENCINITAS BOULEVARD, SUITE 315
                                   ENCINITAS, CA 92024




                                                                      13 help in separating valid from invalid emotional distress claims.” Id. at 434. “Judges

                                                                      14 would be forced to make highly subjective determinations concerning the authenticity

                                                                      15 of claims for emotional injury, which are far less susceptible to objective medical

                                                                      16 proof than are their physical counterparts.” Gottshall, 512 U.S. at 552. The Supreme

                                                                      17 Court adopted the strict zone of danger test specifically to avoid “nearly infinite and

                                                                      18 unpredictable liability for defendants.” Ayers, 538 U.S. at 146 (2003) (quoting
                                                                      19 Gottshall, 512 U.S. at 546).

                                                                      20          Indeed, courts apply Metro-North specifically to dismiss cruise line passenger
                                                                      21 lawsuits.3 For instance, in Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358

                                                                      22 (S.D. Fla. 2018), a passenger and her family were disembarked to a hospital in

                                                                      23 Barbados and claimed that, while at the hospital, they were exposed to Ebola virus.

                                                                      24 Id. at 1360. The passengers were not allowed to return to the ship, which they claim

                                                                      25 added to their anxiety and they filed suit for “severe psychological damages,

                                                                      26 emotional distress, much personal discomfort, uncertainty, fear and lack of safety,”
                                                                      27   3
                                                                          The Ninth Circuit has expressly held that the test applies under federal maritime law. See Stacy v.
                                                                         Rederiet Otto Danielsen, A.S., 609 F.3d 1033, 1035 (9th Cir. 2010); see also, Chaparro v. Carnival
                                                                      28 Corp., 693 F.3d 1333, 1337-38 (11th Cir. 2012) (per curiam).
                                                                                                                          8
                                                                           DEFENDANT’S MOTION TO DISMISS                                             2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 13 of 23 Page ID #:104




                                                                       1 and “undue expenses and costs.” Id. Applying Metro-North, the Court dismissed their

                                                                       2 claim, holding the passengers cannot recover for emotional harm when they “do not

                                                                       3 specify any physical harm for which they seek recovery” and there were “no plausible

                                                                       4 allegations that the plaintiffs sustained a ‘physical impact’ merely by being sent to a

                                                                       5 hospital” which had Ebola-infected patients in the same hospital. Id. at 1362. Under

                                                                       6 these principals, Plaintiff Janis Brock cannot satisfy the zone of danger test.4 She does

                                                                       7 not allege to have contracted COVID-19 as a result of exposure on the Grand

                                                                       8 Princess. Nor does Plaintiff allege any symptoms. Indeed, Plaintiff does not allege to

                                                                       9 have come into close contact with the disease aboard the ship to face even a possibility

                                                                      10 of contracting it. Rather, Janis Brock alleges only that other passengers on their vessel
MALTZMAN & PARTNERS




                                                                      11 were exposed to passengers who previously had disembarked and were later
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 confirmed to be infected with COVID-19 and that she therefore feared getting the
                                   ENCINITAS, CA 92024




                                                                      13 disease. (Compl. ¶ 18.) That is nowhere near sufficient under Metro-North, which,

                                                                      14 again, squarely holds that a plaintiff cannot recover “unless, and until, he manifests

                                                                      15 symptoms of a disease.” 521 U.S. at 427.5

                                                                      16          Nor has Janis Brock plausibly alleged an “immediate risk of physical harm.”
                                                                      17 Her bare assertion of being “at actual risk of immediate physical injury,” is precisely

                                                                      18 the sort of “[t]hreadbare recital [] of the elements of a cause of action” that cannot
                                                                      19   4
                                                                             Even setting aside Metro-North’s categorical rule, Plaintiff still would not have stated a claim
                                                                      20   under the zone of danger test. Federal courts routinely dismiss emotional distress claims when the
                                                                           plaintiff has not plausibly alleged that he actually suffered a physical impact or faced an imminent
                                                                      21   threat of physical harm. See, e.g., Bonner v. Union Pac., 123 F. App’x 777, 778 (9th Cir. 2005);
                                                                           Smith v. Carnival Corp., 584 F. Supp. 2d 1343, 1355 (S.D. Fla. 2008); Crawford v. Nat'l R.R.
                                                                      22   Passenger Corp., No. 3:15-CV-131 (JBA), 2015 WL 8023680, at *12 (D. Conn. Dec. 4, 2015); Fulk
                                                                      23   v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 759 (M.D.N.C. 2014); see also, e.g., Goodrich v. Long
                                                                           Island Rail Rd. Co., 654 F.3d 190, 199 (2d Cir. 2011) (affirming dismissal of IIED claim where no
                                                                      24   allegation that plaintiff was in zone of danger). Plaintiff clearly has not claimed any “physical
                                                                           impact”; again, it is black-letter law that an exposure to a source of disease is not a “physical impact”
                                                                      25   under Supreme Court precedent. Metro-North, 521 U.S. at 430.
                                                                           5
                                                                      26  Even if Plaintiff had alleged symptoms, Plaintiff would still face an independent bar to show that
                                                                         the fear of contracting COVID-19 was “genuine and serious”—something beyond “general concern
                                                                      27 for [one’s] future health.” Ayers, 538 U.S. at 157-58 (quoting Smith v. A.C. & S., Inc., 843 F.2d 854,
                                                                         859 (5th Cir.1988)); see CSX Transp., Inc. v. Hensley, 556 U.S. 838 (2009) (plaintiffs seeking fear-
                                                                      28 of-disease damages “must satisfy a high standard in order to obtain them”).
                                                                                                                            9
                                                                           DEFENDANT’S MOTION TO DISMISS                                                  2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 14 of 23 Page ID #:105




                                                                       1 defeat a motion to dismiss. Ashcroft v. Iqbal, (2009) 556 U.S. 662, 678. And even if

                                                                       2 exposure alone could create an “actual risk” under the zone of danger test—and it

                                                                       3 cannot—Plaintiff fails to even allege ever coming into direct contact with COVID-19

                                                                       4 and she alleges no potential route of transmission.6 Her failure to allege direct

                                                                       5 exposure makes the claim doubly deficient under Metro-North. The plaintiff in Metro-

                                                                       6 North had been consistently and intensely exposed to asbestos daily basis for a three-

                                                                       7 year period, and still the Court foreclosed recovery. Metro-North, 521 U.S. at 427.

                                                                       8 Plaintiff alleges nothing of the sort here.

                                                                       9          Moreover, now that the window of potentially contracting COVID-19 has long
                                                                      10 passed, Janis Brock’s claim must fail because a plaintiff may not pursue a claim for
MALTZMAN & PARTNERS




                                                                      11 earlier emotional distress if “at the time the court reviews a claim” the plaintiff can
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 no longer reasonably fear contracting the disease due to defendant’s conduct.
                           681 ENCINITAS BOULEVARD, SUITE 315
                                   ENCINITAS, CA 92024




                                                                      13 Naeyaert v. Kimberly-Clark Corp., 2018 WL 6380749, at *8 (C.D. Cal. Sept. 28,

                                                                      14 2018). This rule, consistent with the zone of danger test, ensures that only those whose

                                                                      15 fears manifest in the form of an actual diagnosis can recover, in the interest of

                                                                      16 preventing a “flood” of cases inherently “less susceptible to objective medical proof

                                                                      17 than are their physical counterparts.” Gottshall, 512 U.S. at 552.

                                                                      18          The Supreme Court in adopting the zone of danger test emphasized that it
                                                                      19 would allow recovery for “emotional injury caused by the apprehension of physical

                                                                      20 impact.” Gottshall, 512 U.S. at 556. And in subsequently describing the test, it has

                                                                      21 equated being “placed in immediate risk of physical harm” with “escap[ing] instant

                                                                      22 physical harm.” Ayers, 538 U.S. at 146. Expanding the category of “immediate risk”

                                                                      23 to cover alleged exposure to a communicable disease which the Plaintiff did not

                                                                      24 contract would be unprecedented. Because Plaintiff was not within the zone of

                                                                      25   6
                                                                           There are 649 cities in California with populations smaller than the 3,700-person population of the
                                                                      26 Grand Princess. (See https://www.california-demographics.com/cities_by_population). If
                                                                         Plaintiff’s allegation that merely being in the same population of 3,700 people is sufficient to satisfy
                                                                      27 the zone of danger requirement, then anyone who lived in any of those 649 cities could become
                                                                         subject to emotional distress liability whenever they invited anyone onto their premises if it was
                                                                      28 later discovered someone else in the town had COVID-19.
                                                                                                                            10
                                                                           DEFENDANT’S MOTION TO DISMISS                                                2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 15 of 23 Page ID #:106




                                                                       1 danger7 under Metro-North, Janis Brock’s allegations of emotional distress, no matter

                                                                       2 how severe, are insufficient to survive a Motion to Dismiss.8

                                                                       3          Metro-North’s zone of danger test governs all species of tort claims seeking
                                                                       4 emotional distress, whether or not styled as claims of “negligent infliction of

                                                                       5 emotional distress” or otherwise. See Smith v. Union Pac. R.R. Co., 236 F.3d 1168,

                                                                       6 1171 (10th Cir.2000) (Metro-North and Gottshall “focused on whether emotional

                                                                       7 injuries were generally compensable under FELA, rather than upon the specific cause

                                                                       8 of action.”); Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 755 (M.D.N.C. 2014)

                                                                       9 (“Federal courts have consistently applied the zone of danger test to all stand-alone

                                                                      10 emotional distress claims.”).
MALTZMAN & PARTNERS




                                                                      11
                                                                                  2.      To Recover for Emotional Distress Plaintiffs Stanley Dachinger,
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                                          Linda Dachinger, and Jackie Brock Must Allege Symptoms
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12
                                   ENCINITAS, CA 92024




                                                                      13          For the period before Plaintiffs Stanley Dachinger, Linda Dachinger, and
                                                                      14 Jackie Brock’s diagnosis, recovery for emotional distress is barred.                        Under the
                                                                      15 Supreme Court’s decision in Metro-North, a plaintiff alleging emotional distress from

                                                                      16 such exposure “cannot recover unless, and until, he manifests symptoms of a disease.”

                                                                      17 Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424, 427 (1997). The Supreme

                                                                      18   7
                                                                             Cases that do find an immediate risk of harm provide a helpful contrast to Plaintiffs’ inadequate
                                                                      19   claims here. These cases involve “threatened physical contact that caused, or might have caused,
                                                                           immediate traumatic harm.” Metro-North, 521 U.S. at 430 (emphasis added) (collecting cases); see,
                                                                      20   e.g., Stacy, 609 F.3d at 1035 (freighter nearly struck plaintiff’s vessel and then struck another ship,
                                                                           killing its captain); Sawyer Bros., Inc. v. Island Transporter, LLC, 887 F.3d 23, 39 (1st Cir. 2018)
                                                                      21   (plaintiffs were aboard ferry that nearly capsized); In re Clearsky Shipping Corp., No. Civ. 96-4099,
                                                                           2002 WL 31496659, *1 (E.D. La. Nov. 7, 2002) (plaintiff was aboard a docked casino boat as a
                                                                      22   vessel collided with nearby wharf); Hutton v. Norwegian Cruise Line Ltd., 144 F.Supp.2d 1325
                                                                      23   (S.D. Fla. 2001) (plaintiffs aboard ship that collided with another vessel).
                                                                         8
                                                                           In Gottshall, one of the plaintiffs had suffered “insomnia, headaches, depression, and weight loss,”
                                                                      24 followed by a “nervous breakdown.” 512 U.S. at 539. The other had experienced “nausea, insomnia,

                                                                      25 cold sweats, and repetitive nightmares,” plus weight loss, anxiety, and suicidal ideations. Id. at 536-
                                                                         37. The Supreme Court held that even these significant emotional injuries were not compensable
                                                                      26 because they did not stem from either a physical impact or a near-miss physical impact—i.e., neither
                                                                         plaintiff was in the zone of danger. Indeed, even extremely grave physical results cannot be
                                                                      27 redressed unless the plaintiff was in the zone of danger. Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d
                                                                         749, 757 (M.D.N.C. 2014) (no recovery for “self-inflicted gunshot wound” because plaintiff was
                                                                      28 never in zone of danger).
                                                                                                                             11
                                                                           DEFENDANT’S MOTION TO DISMISS                                                 2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 16 of 23 Page ID #:107




                                                                       1 Court’s hard-and-fast rule from Metro-North, precluding a plaintiff’s recovery for

                                                                       2 emotional distress claims “unless, and until, he manifests symptoms of a disease,”

                                                                       3 forecloses any recovery for harm caused prior to their alleged contraction of COVID-

                                                                       4 19. 521 U.S. at 427.

                                                                       5
                                                                                 3.    To Recover for Emotional Distress All Plaintiffs Must Plausibly
                                                                                       Allege a Physical Manifestation of the Claimed Distress
                                                                       6

                                                                       7         For the period after Plaintiffs Stanley Dachinger, Linda Dachinger, and Jackie
                                                                       8 Brock’s alleged diagnosis, and for the entirety of Plaintiff Janis Brock’s claim,

                                                                       9 recovery for emotional distress is barred because there is no alleged physical

                                                                      10 manifestation of the claimed distress. Only emotional distress that causes non-trivial
MALTZMAN & PARTNERS




                                                                      11 physical consequences is compensable. A positive COVID-19 test result, in and of
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 itself, is not legally sufficient to support a claim for emotional distress. Rather, courts
                                   ENCINITAS, CA 92024




                                                                      13 require that emotional distress must cause non-trivial physical consequences. In other

                                                                      14 words, “[g]eneral maritime law requires an ‘objective manifestation’ of the emotional

                                                                      15 injury—a physical injury or effect which arises from the emotional injury.” Wyler v.

                                                                      16 Holland Am. Line-USA, Inc., 2002 WL 32098495, at *1 (W.D. Wash. Nov. 8, 2002);

                                                                      17 accord Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474, 477-478 (5th Cir. 2001);

                                                                      18 Duet v. Crosby Tugs, LLC, 2008 WL 5273688, at *3 (E.D. La. Dec. 16, 2008)
                                                                      19 (“Plaintiff’s emotional distress was not provoked by a physical injury, rather,

                                                                      20 plaintiff’s physical injury was provoked by emotional distress”); Tassinari v. Key W.

                                                                      21 Water Tours, L.C., 480 F. Supp. 2d 1318, 1325 (S.D. Fla. 2007) (“[S]tand-alone

                                                                      22 claims for negligent infliction of emotional distress require a physical manifestation

                                                                      23 of emotional injury.”). Courts impose this physical-manifestation requirement

                                                                      24 because it “furnishes a ‘guarantee of genuineness’ thus limiting the prospects for a

                                                                      25 flood of fraudulent claims.” Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403,

                                                                      26 407 (S.D. Fla. 1995); see also Tassinari, 480 F. Supp. 2d at 1325 (S.D. Fla. 2007)
                                                                      27 (citing “the beneficial public policy of placing an objective and easily applied

                                                                      28 restriction on frivolous claims”).
                                                                                                                      12
                                                                           DEFENDANT’S MOTION TO DISMISS                                      2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 17 of 23 Page ID #:108




                                                                       1         Under this rule, minor physical consequences are not sufficient. See, e.g.,
                                                                       2 Williams, 907 F. Supp. At 407 (plaintiffs could not recover even though they were in

                                                                       3 the zone of danger because they “complain[ed] only of fear and/or seasickness which

                                                                       4 in most cases lasted no more than a few days”); Ainsworth v. Penrod Drilling Co.,

                                                                       5 972 F.2d 546 (5th Cir. 1992) (barring recovery for emotional distress where the

                                                                       6 plaintiff suffered “trivial” injuries such as upset stomach, headache, and pulled

                                                                       7 muscles); Ellenwood v. Exxon Shipping, 795 F. Supp. 31, 35 (D. Me. 1992) (loss of

                                                                       8 sleep and loss of appetite insufficient). Here, Plaintiffs’ Complaint contains no

                                                                       9 allegation of any physical manifestations of emotional distress for any of the

                                                                      10 Plaintiffs, let alone the serious and significant physical manifestation which is
MALTZMAN & PARTNERS




                                                                      11 required. Plaintiffs’ allegations that they “suffer from emotional distress” is exactly
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 the sorts of generalized allegations of fear and anxiety that courts have held are clearly
                                   ENCINITAS, CA 92024




                                                                      13 insufficient to support a claim for emotional distress. Supra; see, e.g., Williams 907

                                                                      14 F. Supp. at 407. This failure to allege a physical manifestation also provides an

                                                                      15 independent reason why Plaintiffs Stanley Dachinger, Linda Dachinger, and Jackie

                                                                      16 Brock cannot recover for the period before their diagnosis. Even if they had

                                                                      17 adequately pled that they contracted COVID-19 as a result of Defendant’s conduct,

                                                                      18 their emotional-distress claims would nonetheless fail for the separate reason that they
                                                                      19 have not pled a physical manifestation of their emotional distress.

                                                                      20         Similarly, Plaintiffs cannot recover (even following Stanley Dachinger, Linda
                                                                      21 Dachinger, and Jackie Brock’s alleged diagnosis) because they have not alleged any

                                                                      22 “genuine and serious” manifestation of actual, physical symptoms. Norfolk & W. Ry.

                                                                      23 Co. v. Ayers, 538 U.S. 135, 157-58 (2003) (quoting Smith v. A.C. & S., Inc., 843 F.2d

                                                                      24 854, 859 (5th Cir.1988)). As explained below, courts do not allow recovery based on

                                                                      25 mere diagnoses absent some sort of concrete, “functional impairment.” This rule is

                                                                      26 necessary to avoid an anomalous, arbitrary result where a plaintiff might be able to
                                                                      27 recover for the fear of something that, if it came to pass, he could not actually recover

                                                                      28 for as a physical harm.
                                                                                                                     13
                                                                           DEFENDANT’S MOTION TO DISMISS                                     2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 18 of 23 Page ID #:109




                                                                       1
                                                                              C. Plaintiffs Cannot Recover for Fear or Even a Mere Diagnosis, Without
                                                                                 More, as a “Physical Harm”
                                                                       2

                                                                       3      None of the Plaintiffs allege any non-emotional injury other than a conclusory
                                                                       4 statement that Plaintiffs Stanley Dachinger, Linda Dachinger, Jackie Brock “suffer

                                                                       5 from physical … harm from the disease,” (Compl. ¶¶ 25, 29.). Simply adding the

                                                                       6 words “physical harm” is insufficient to support Plaintiffs’ Complaint.

                                                                       7         Many persons who test positive for COVID-19 are asymptomatic. Courts reject
                                                                       8 claims of physical injury based only on positive tests for asymptomatic

                                                                       9 diseases. Rather, a plaintiff claiming “compensable harm” from a disease must

                                                                      10 “adduc[e] objective testimony of a functional impairment.” In re Hawaii Fed.
MALTZMAN & PARTNERS




                                                                      11 Asbestos Cases, 734 F. Supp. 1563, 1567 (D. Haw. 1990) (emphasis added); See
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 e.g., Sheridan v. Cabot Corp., 113 F. App’x 444, 448 (3d Cir. 2004) (“asymptomatic
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 pleural thickening is not a sufficient physical injury to warrant damages”); Sondag v.
                                   ENCINITAS, CA 92024




                                                                      14 Pneumo Abex Corp., 55 N.E.3d 1259, 1265 (Ill. App. Ct. 2016) (“To qualify as

                                                                      15 ‘physical harm,’ the alteration of the body must have a detrimental effect in a more

                                                                      16 practical sense, such as by causing noticeable respiratory symptoms”) (citing Ackison

                                                                      17 v. Anchor Packing Co., 120 Ohio St.3d 228, 897 N.E.2d 1118, 1125 (2008); Giffear

                                                                      18 v. Johns-Manville Corp. (Pa. Super. Ct. 1993) 429 Pa.Super. 327, 340 [632 A.2d 880,
                                                                      19 887-88], aff'd sub nom. Simmons v. Pacor, Inc. (1996) 543 Pa. 664 [674 A.2d 232]

                                                                      20 (asymptomatic contraction of an illness is not a legally compensable injury); Owens–

                                                                      21 Illinois v. Armstrong, 87 Md.App. 699, 591 A.2d 544, 561 (1991), aff'd in part and

                                                                      22 rev'd in part on other grounds, 326 Md. 107, 604 A.2d 47 (1992); Restatement (Third)

                                                                      23 of Torts: Liability for Physical and Emotional Harm § 4, Reporters’ Note to cmt. c, at

                                                                      24 59–60 (2010). Plaintiffs cannot recover negligence or gross negligence without

                                                                      25 alleging physical harm.

                                                                      26         A COVID-19 diagnosis, without more, is not in itself a compensable physical
                                                                      27 harm. It is now accepted that most individuals who contract COVID-19 never

                                                                      28
                                                                                                                   14
                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 19 of 23 Page ID #:110




                                                                       1 experience symptoms.9 And the complaint contains no allegation of any actual

                                                                       2 impairment due to the alleged diagnoses. Treating a positive test result with nothing

                                                                       3 more as a “physical harm” worth $1 million in compensatory damages, plus punitive

                                                                       4 damages, expands tort liability in the same unlimited and unpredictable way as

                                                                       5 allowing claims for pure emotional distress.

                                                                       6
                                                                               D. Plaintiffs Have Not Plausibly Alleged Causation

                                                                       7       All of the Plaintiffs claims fail because they do not state any facts suggesting that
                                                                       8 any conduct by Defendant was the factual or proximate cause of their positive

                                                                       9 diagnosis or fear. As pled, the Complaint makes it impossible to determine if even

                                                                      10 those Plaintiffs who caught the virus contracted it onboard versus before embarkation,
MALTZMAN & PARTNERS




                                                                      11 at some port of call, during their post-cruise government managed transportation or
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 quarantine, or elsewhere. As such, Plaintiffs’ claims should be dismissed.
                                   ENCINITAS, CA 92024




                                                                      13          Nowhere in the Complaint do Plaintiffs allege they contracted COVID-19 or
                                                                      14 experienced symptoms of the virus on the vessel (or at all). Plaintiffs do not allege

                                                                      15 experiencing any specific physical injury or any ensuing sequelae related to COVID-

                                                                      16 19. (Compl. ¶ 25.) They have not alleged that they were sick on the vessel, that they

                                                                      17 were diagnosed with COVID-19 on the vessel, or even that the virus entered their

                                                                      18 bodies on the vessel. Plaintiffs conspicuously fail to assert that they came into direct
                                                                      19 contact with any passengers or crew who had COVID-19. Given that millions of

                                                                      20 people have tested positive for COVID-19, alleging causation requires more than

                                                                      21 simply saying they were aboard Defendant’s vessel and then either feared or

                                                                      22 contracted COVID-19 on some unspecified date thereafter.

                                                                      23       E. Finding Plaintiffs’ Claims Sufficient Would Invite the Exact Policy
                                                                                  Consequences the Supreme Court Cautioned Against
                                                                      24

                                                                      25          Finding Plaintiffs’ claims sufficient would invite the exact harsh policy
                                                                      26 consequences the Supreme Court warned against. See Metro-North Commuter R. Co.
                                                                      27
                                                                          Plaintiffs’ Complaint itself acknowledges this fact, noting the rate of positive cases “especially
                                                                           9

                                                                      28 among those without symptoms…” (Compl. at pg. 3.)
                                                                                                                          15
                                                                           DEFENDANT’S MOTION TO DISMISS                                            2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 20 of 23 Page ID #:111




                                                                       1 v. Buckley, 521 U.S. 424 (1997); Consolidated Rail Corp. v. Gottshall, 512 U.S. 532

                                                                       2 (1994); Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135 (2003). COVID-19 is a

                                                                       3 widespread pandemic, and is now well-known to be transmittable through airborne

                                                                       4 droplets. Any business, school, church or other venue alleged to have opened its doors

                                                                       5 a day too soon could be exposed to claims of emotional distress from anyone who

                                                                       6 stepped inside and then later tested positive for COVID-19 or feared contracting

                                                                       7 COVID-219, regardless of whether the individual alleges they came into contact with

                                                                       8 the virus at that establishment. Additionally, if a plaintiff can recover for emotional

                                                                       9 distress based on only a fear of exposure to a widespread disease like COVID-19 or

                                                                      10 on testing positive for the virus but having no symptoms, there will be no limit on
MALTZMAN & PARTNERS




                                                                      11 who can recover in the wake of the pandemic. This concern is even more significant
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12 in relation to a widespread and often undetectable disease like COVID-19. Airline
                                   ENCINITAS, CA 92024




                                                                      13 travel and public transportation will prove impossible. Individuals who test positive

                                                                      14 after they attend a football game, transit through an airport, eat at a restaurant, or shop

                                                                      15 at a mall or store will have carte blanche to sue whoever has the deepest pockets based

                                                                      16 only on having been at a venue where someone later is found to have tested positive

                                                                      17 for COVID-19. Allowing Plaintiffs’ claims to proceed as pled, in other words,

                                                                      18 endorses the “nearly infinite and unpredictable liability for defendants” that Gottshall
                                                                      19 and Metro-North expressly set out to prevent.10 Ayers, 538 U.S. at 146.

                                                                      20
                                                                                F. Plaintiffs’ Claims for Punitive Damages Are Foreclosed as a Matter of
                                                                                   Law and Should be Dismissed or Stricken
                                                                      21

                                                                      22          Finally, even if Plaintiffs’ claims could go forward on the merits, their claims
                                                                      23 for punitive damages are foreclosed as a matter of law and should therefore be

                                                                      24

                                                                      25    A “fundamental interest of federal maritime jurisdiction” is “the protection of maritime
                                                                           10

                                                                         commerce.” The Dutra Grp. v. Batterton, 139 S. Ct. 2275, 2287 (2019) (quotation marks omitted).
                                                                      26 The Supreme Court has urged courts to resist judicial expansions of maritime liability and remedies
                                                                      27 that would “frustrate” this protective purpose. Id. Allowing unpredictable and potentially crushing
                                                                         liability for ocean carriers in the wake of a pandemic would so seriously inhibit maritime commerce
                                                                      28 that principles of maritime law would independently require dismissal.
                                                                                                                          16
                                                                           DEFENDANT’S MOTION TO DISMISS                                            2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 21 of 23 Page ID #:112




                                                                       1 dismissed under Rule 12(b)(6) or stricken under Rule 12(f).

                                                                       2         The Supreme Court has recently clarified several important limitations on the
                                                                       3 availability of punitive damages in maritime cases, all of which make clear that

                                                                       4 punitive damages are unavailable in cases alleging only emotional distress—at least

                                                                       5 where that distress is not intentionally inflicted. In The Dutra Group v. Batterton, 139

                                                                       6 S. Ct. 2275 (2019), the Supreme Court set forth a framework for deciding when

                                                                       7 punitive damages are available under general maritime law, and then applied that

                                                                       8 framework to hold that punitive damages are unavailable in claims for

                                                                       9 unseaworthiness. First, where there is no federal statute authorizing punitive damages,

                                                                      10 courts must determine “whether punitive damages have traditionally been awarded”
MALTZMAN & PARTNERS




                                                                      11 in the category of case at issue. Id. at 2283. If they are not, then the imposition of
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 punitive damages is precluded. See Dunn v. Hatch, 792 F. App’x 449, 451 (9th Cir.
                           681 ENCINITAS BOULEVARD, SUITE 315
                                   ENCINITAS, CA 92024




                                                                      13 2019) (Batterton “held that punitive damages cannot be recovered on claims in

                                                                      14 admiralty where there is no historical basis for allowing such damages”). If the

                                                                      15 imposition of punitive damages would create “bizarre disparities in the law,” that

                                                                      16 further counsels against their availability. Batterton, 139 S. Ct. at 2287. And in

                                                                      17 determining whether to permit punitive damages, courts must proceed “cautiously in

                                                                      18 light of Congress’s persistent pursuit of uniformity in the exercise of admiralty
                                                                      19 jurisdiction.” Id. at 2278 (Miles v. Apex Marine Corp., 498 U.S. 19, 27 (1986)).

                                                                      20         Defendant is aware of no binding precedent supporting the imposition of
                                                                      21 punitive damages for negligently (even grossly negligently) inflicted emotional

                                                                      22 distress or harm to a passenger. To the contrary, any “tradition” of punitive damages

                                                                      23 in maritime cases is limited to cases where the defendant’s conduct is truly

                                                                      24 “outrageous”—cases of “enormity or deplorable behavior.” Dunn, 792 F. App’x at

                                                                      25 452. And some courts have held expressly that punitive damages are unavailable to

                                                                      26 “personal injury claimants … except in exceptional circumstances involving
                                                                      27 crewmembers such as willful failure to furnish maintenance and cure to an injured or

                                                                      28 ill seaman (who are viewed as special wards of the court requiring additional
                                                                                                                    17
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 22 of 23 Page ID #:113




                                                                       1 protection) and in those very rare situations of intentional wrongdoing.” In re Amtrak

                                                                       2 Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept. 22, 1993, 121 F.3d 1421, 1429

                                                                       3 (11th Cir. 1997). As in Batterton, the absence of case law supporting the availability

                                                                       4 of punitive damages in suits for negligently inflicted emotional distress or harm “is

                                                                       5 practically dispositive.” Id. at 2284.

                                                                       6         But even if the history of punitive damages under maritime law were more
                                                                       7 equivocal (which it is not), the imposition of punitive damages here would create the

                                                                       8 same “bizarre disparit[y] in the law” that demanded foreclosure of punitive damages

                                                                       9 in Batterton. The Court there noted that, if punitives were permitted for

                                                                      10 unseaworthiness claims, “a mariner could make a claim for punitive damages if he
MALTZMAN & PARTNERS




                                                                      11 was injured onboard a ship, but,” because of the Court’s prior decision in Miles, “his
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                      12 estate would lose the right to seek punitive damages if he died from his injuries.” 139
                           681 ENCINITAS BOULEVARD, SUITE 315
                                   ENCINITAS, CA 92024




                                                                      13 S. Ct. at 2287 (emphasis added). The same disjoint would occur here, as the Death on

                                                                      14 the High Seas Act (“DOHSA”) expressly forbids the imposition of punitive damages

                                                                      15 for deaths caused by incidents more than three miles offshore. See 46 U.S.C. § 30303

                                                                      16 (allowing damages only for “pecuniary loss”); Batterton, 139 S. Ct. at 2285 n.8.

                                                                      17 Under Plaintiffs’ novel theory, passengers alleging exposure to a disease on the high

                                                                      18 seas can freely recover punitive damages if they never contracted the disease or if
                                                                      19 they got a positive test result for COVID-19 with no symptoms, and yet, if those same

                                                                      20 passengers died from the disease, DOHSA would squarely bar their claim for punitive

                                                                      21 damages. To avoid that arbitrary differential treatment, and to properly “pursue the

                                                                      22 policy expressed in congressional enactments” like DOHSA, punitive damages must

                                                                      23 be foreclosed. Id. at 2281.

                                                                      24         The policies at play further cement that punitive damages cannot be available.
                                                                      25 To the extent that liability alone did not create the “infinite and unpredictable

                                                                      26 liability,” Ayers, 538 U.S. at 146, the “stark unpredictability of punitive awards,”
                                                                      27 Exxon Shipping Co. v. Baker, 554 U.S. 471, 499 (2008), would make that threat an

                                                                      28
                                                                                                                   18
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
                                                      Case 2:20-cv-03847-RGK-SK Document 21-1 Filed 06/09/20 Page 23 of 23 Page ID #:114




                                                                       1 unavoidable reality.11 In turn, the open-ended threat of punitive damages would

                                                                       2 encourage more cases and hobble “maritime commerce”—the “fundamental interest

                                                                       3 served by federal maritime jurisdiction.” Batterton, 139 S. Ct. at 2287.

                                                                       4 V.       CONCLUSION
                                                                       5          For the foregoing reasons, Defendant requests that the Court grant its motion
                                                                       6 to dismiss and to dismiss this case.

                                                                       7

                                                                       8

                                                                       9 DATED: June 9, 2020                           MALTZMAN & PARTNERS

                                                                      10
MALTZMAN & PARTNERS




                                                                      11                                       By:     s/ Jeffrey B. Maltzman
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                                                                       Jeffrey B. Maltzman
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      12                                               Edgar R. Nield
                                                                                                                       Gabrielle De Santis Nield
                                   ENCINITAS, CA 92024




                                                                      13
                                                                                                                       Rafaela P. Castells
                                                                      14                                               Attorneys for Defendant,
                                                                      15                                               Princess Cruise Lines Ltd.

                                                                      16

                                                                      17

                                                                      18
                                                                      19

                                                                      20

                                                                      21

                                                                      22

                                                                      23

                                                                      24

                                                                      25

                                                                      26
                                                                           Even if punitive damages were available, the Supreme Court has held that “under maritime law,
                                                                           11

                                                                      27 the maximum ratio of punitive damages to compensatory damages is 1-1.” Exxon Valdez v. Exxon
                                                                         Mobil, 568 F.3d 1077, 1079 (9th Cir. 2009). If this Court does not dismiss or strike the request for
                                                                      28 punitive damages altogether, the Court should limit Plaintiffs’ damages accordingly.
                                                                                                                         19
                                                                           DEFENDANT’S MOTION TO DISMISS                                             2:20-CV-03847-RGK-SK
